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IN THE UNITED STATES DISTRICT COURT _— SOUTHERN DISTRICT 0° 1A
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, ) Criminal No. 1:28-cr-016
Vv. ; INDICTMENT
SIMON V. CONTRERAZ, ITI, T. 18 U.S.C. § 1709
Defendant.
THE GRAND JURY CHARGES:
COUNT 1

(Theft of Mail by Employee)

On or about July 15, 2022, in the Southern District of Iowa, the defendant,
SIMON V. CONTRERAZ III, a United States Postal Service employee, did steal and
remove silver coins from letter and package addressed to J.M., said letter and
package being conveyed by United States mail and intended to be delivered to J.M.,
intending to convert the silver coins to his own use.

This is a violation of Title 18, United States Code, Section 1709.

TRUE BILL.

- FOREPERSON ~~

Richard D. Westphal
United States Attorney

(> Richard E. Rothrock
Assistant United States Attorney
